In this proceeding, the plaintiff in error, the Higbee Company, which was the defendant below, seeks the reversal of a judgment rendered against it in the court of common pleas in favor of Anna Holmes, the plaintiff below, for personal injuries received by her through falling on a stairway in the defendant's premises. We will designate the parties as they were referred to in the trial court.
At the time of the plaintiff's injury the defendant owned and operated a large department store in the city of Cleveland. About 11:30 o'clock in the morning of the day of her injury, the plaintiff, with three companions, entered the store for the purpose of shopping, and while thus engaged walked down the stairway leading from the main floor, on the street level, intending to descend to the basement, which was immediately below. While in the act of walking down the stairway she claimed that she was suddenly blinded by the intense rays of a light shining in her eyes, which caused her to miss her footing, to be precipitated down the flight of stairs, and to be injured. The grounds of negligence asserted were: "At the time complained of defendant negligently failed and neglected to maintain said stair way in a reasonably safe condition for use by its patrons; negligently so placed and maintained said light that the intense and blinding rays therefrom were projected toward and into the face and eyes of persons descending said stairway; negligently failed and neglected to remove said light, alter the position thereof or to cover or shield the same so as to prevent the strong and intense rays of light thereof from being projected onto said stairway and into the face and eyes of persons using the same; and negligently failed and neglected seasonably to warn or apprise her of the danger incident to the use of said stairway as herein set forth."
The answer of the defendant denied negligence on its part and injury of the plaintiff. It also alleged *Page 475 
that, if the plaintiff was injured, her injury was due solely and proximately to her own negligence. The case was tried to the court without the intervention of a jury.
The evidence disclosed that the stairway that led to the basement consisted of about five steps about six feet in width leading from the floor level to a landing; that at this point the stairway changed at right angles for a distance of six or seven steps to a landing, at which point the stairway changed again to the right, and led to the floor of the basement by a flight of four or five steps. There was a railing on the right-hand side of the stairway. The building was illuminated both day and night by what is known as the indirect lighting system. For several years, and at all times after the construction of the store, there was maintained an electric lamp near the stairway, and it was contained in a fixture which hung from the ceiling of the basement so that the light bulb was approximately two feet below the ceiling of the basement and near the right-hand rail as one descends. It was agreed that a woman of the size of the plaintiff descending the stairway would be unable to see either the fixture or lamp at the time of starting to descend the stairs; that as she descended, walking next to the right-hand rail, she would be unable to see either the fixture or the light, or encounter any of its rays, until slightly below the middle of the first flight; that she would not encounter the full strength of the lamp and fixture and the direct rays of the bulb until at or about the time she would have to make the turn at the bottom of the first flight for the purpose of proceeding down the second flight. The plaintiff testified that, as she was taking the first step below the first landing, "it seemed everything just went like a ball of fire, see; it flashed like an automobile flashing on you, and I knew that I was going to fall and balanced myself, and I couldn't balance myself, so I reached for the *Page 476 
railing and then I went upside down." The evidence does not disclose that there was any defect in the physical construction of the stairway, but that the defect, if any, consisted in the intensity of the light so placed as to glare into the eyes of the plaintiff and to blind her. The light in question was produced by a 750-watt bulb contained in a socket or fixture, which reflected 85 per cent. of the light upward toward the ceiling and only a small part of it downward. This occasion was the plaintiff's first visit to the store and she had never before been on the stairway.
It was the claim of the plaintiff that, as the store throughout was lighted by the indirect system, she did not know and had no warning of and did not expect to encounter the dazzling light on the basement steps; that this intense light and glare could easily have been avoided and prevented by laying a small shield or shade across the fixture, as, indeed, a small cardboard shade was so placed soon after the injury; that good practice required that in installing a lighting system the direct rays from the lights should be kept from the eyes.
The claim of the defendant was that there was no evidence of any negligence on its part; that the trial court erred in not dismissing the case at the end of all the evidence; that the judgment should be reversed and final judgment entered for the defendant.
The question is not without difficulty. The trial court may have considered that the defendant did not use ordinary care in this, that, while the store had been visited by hundreds and thousands of people daily, this was the plaintiff's first visit, and that she, having seen that the store generally was illuminated by indirect light, would not expect, as she entered the basement, to encounter the direct rays and glare of a powerful light, of which she had no warning; and, further, that, had all the lights been direct or uniform, she might not have been misled. And, as testified by *Page 477 
one of the experts, good practice required that there should have been removed from the range of vision sources of light that produced a glare, and that a shade should have been placed over the fixture to have prevented the glare complained of.
The plaintiff was in the store as an invitee: "One who expressly or by implication invites others to come upon his premises must exercise ordinary care to guard them against danger, and to that end he must exercise ordinary care to render the premises reasonably safe for the invitees."Cincinnati Base Ball Club Co. v. Eno, 112 Ohio St. 175,147 N.E. 86.
In S.S. Kresge Co. v. Fader, 116 Ohio St. 718,158 N.E. 174, 58 A.L.R., 132, it is held: "Owners or lessees of stores owe a duty to the patrons of the store to exercise ordinary care to prevent accident and injury to the patrons while in the store, but they are not insurers against all accidents and injuries to such patrons while in the store."
With reference to the question of the negligence of the defendant it may be just as much negligence to have an illuminating system with fixtures and bulbs of such power, so placed as to cause too much light and glare, and so as to affect the eyes and cause temporary blindness, as it is to have an insufficient light. This is especially true if indirect lights are so placed as to mislead one to believe that all the lights are indirect.
On the evidence presented in this case different minds might reach different conclusions on the question of negligence. Negligence is almost always to be deduced as an inference of fact from several facts and circumstances disclosed by the evidence after their connection with the matter in issue has been considered. If unbiased minds would differ as to such inferences, the conclusion of the court or jury will not be disturbed by a reviewing court. 20 Ruling Case Law, 169, Section 141; 45 Corpus Juris, 1370. The Supreme Court of Ohio has recognized this principle *Page 478 
in the case of Scovanner v. Toelke, 119 Ohio St. 256,163 N.E. 493. See, also, City Railway Co. v. Shively, 17 Ohio App. 172;  Paragon Refining Co. v. Higbea, 22 Ohio App. 441,153 N.E. 860.
Although, were we hearing the case in the first instance, instead of reviewing the record of the court below, we might not have unqualifiedly arrived at the conclusion reached by the trial court, yet we realize that, upon the evidence presented, different minds might reach different conclusions as to the defendant's negligence. Where the court has heard the case without the intervention of a jury, and where, upon the evidence presented, reasonable minds might reach different conclusions as to whether such evidence constitutes negligence, this court will not disturb the conclusion reached by the trial court unless the conclusion was clearly wrong and unjustified, for a reviewing court will presume that all proper rules of law were applied to the facts of the case. Scovanner v. Toelke,supra.
We do not feel justified in interfering with the judgment of the trial court, especially in view of the fact that the record does not disclose any other prejudicial error of law occurring at the trial.
Judgment affirmed.
MAUCK, P.J., and MIDDLETON, J., concur.
Judges of the Fourth Appellate District sitting by designation in the Eighth Appellate District. *Page 479 